                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 In re:                                                     )
                                                            )                Chapter 11
 SARAI SERVICES GROUP,              INC.,1                  )
                                                            )                Case No. 18-82948-CRJ-11
                          Debtor.                           )                (Jointly Administered)

       NATIONAL BANK OF COMMERCE’S LIMITED OBJECTION TO DEBTORS’
           APPLICATION TO EMPLOY PROFESSIONAL NUNC PRO TUNC

           COMES NOW National Bank of Commerce (“NBC”), by and through its undersigned

 counsel, and files this limited objection (this “Objection”) to the Debtors’ Application by

 Chapter 11 Debtors to Employ Professional Nunc Pro Tunc (the “Employment Application”) in

 which the Debtors seek to employ the real estate brokerage firm of Crunkleton and Associates,

 LLC (“Crunkleton”) in order to attempt to liquidate real property (collectively, the “Property”)

 located at 3325, 3405, and 3411 Triana Boulevard SW, Huntsville, AL 35805. In support of this

 limited Objection, NBC states as follows:

                                    JURISDICTION AND VENUE

           1.    This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

 1334.

           2.    This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

 before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                             BACKGROUND

           3.    On or about October 3, 2018 (the “Petition Date”), the Debtors voluntary filed

 four bankruptcy petitions pursuant to Chapter 11, Title 11, of the United States Code (the

           1
          In addition to Sarai Services Group, Inc., the Debtors include the following: SSGWW JV LLC, Case No.
 18-82949-CRJ-11; Sarai Investment Corporation, Case No. 18-82950-CRJ-11; and CM Holding, Inc., Case No. 18-
 82951-CRJ-11.



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 “Bankruptcy Code”). The four bankruptcy cases are jointly being administered under Case No.

 18-82948-CRJ-11 (this “Bankruptcy Case”) pursuant to the Court’s Final Order on Joint

 Administration of Chapter 11 Cases entered in the Bankruptcy Case on or about November 8,

 2018.

           4.   On December 18, 2018, the Debtors filed their Employment Application nunc pro

 tunc seeking authority from the Court to employ Crunkleton in an attempt to sell the Property.

           5.   Prior to the Bankruptcy Case, one of the Debtors, CM Holdings, Inc. (“CM

 Holdings”), executed a Promissory Note (the “Note”) in favor of NBC in the original principal

 amount of $3,920,000. Said Note is secured by, among other things, a Mortgage dated August

 28, 2018 executed by CM Holdings in favor of NBC and recorded at Doc ID 021177750009 on

 August 29, 2018 with the Office of the Judge of Probate, Madison County, Alabama (the

 “Mortgage”). Among other things, the Mortgage provides NBC with a first lien position on the

 Property that the Debtors are seeking to liquidate.

                                           ARGUMENT

           6.   NBC has no objection to the liquidation of the Property, nor does it object to the

 Crunkleton firm being engaged by the estate to sell the Property. However, given NBC’s first

 priority lien on the Property and its interest in maximizing the value of any proposed sale by the

 Debtors, NBC respectfully requests that certain requirements be placed on the employment in

 order to keep NBC fully informed during the sales process.

           7.   NBC’s major concern with the Employment Application is the term of the

 proposed employment (12 months) and the pricing of the Property. However, if the following

 safeguards are in place, NBC will voluntarily withdraw this Objection and fully support the

 efforts of the Debtors related to the liquidation of the Property. Those safeguards include:




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           •      Crunkleton and/or the Debtors will communicate any offer(s) for purchase or
                  lease of the Property to NBC and its counsel upon receipt;

           •      Crunkleton and/or the Debtors will consult with NBC and its counsel, and seek to
                  obtain NBC’s input regarding any offer(s) or counter-offer(s) for the purchase or
                  lease of the Property.

           •      The initial term of Crunkelton’s employment will be reduced to 6 months, but the
                  Debtors and Crunkleton may renew it for another 6 months, without further order
                  of the Court, with 10-days written consent of NBC.

           •      The Employment of Crunkleton shall immediately terminate in the event that the
                  Automatic Stay is lifted or modified to allow NBC to exercise its rights and
                  remedies with respect to the Property.

           8.     Based on the Court’s ability to structure and modify the Employment Application

 as it sees fit, NBC respectfully requests that the Court specifically apply the requirements listed

 above in the event the Employment Application is due to be granted. This relief will allow NBC

 to remain fully informed with regard to the treatment of the Property, ensure that the Property

 receives a fair price in a reasonable amount of time, and will allow NBC to make a fully

 informed decision regarding certain actions, including whether a motion for relief from stay is

 warranted. Additionally, the relief requested herein should not harm or prejudice the Debtors in

 any way as NBC is just seeking information and is not trying to prevent or prohibit the sales

 process.

           WHEREFORE, NBC respectfully requests that any Order granting the Debtors’

 Employment Application specifically provide the requirements detailed above in order to fully

 inform NBC regarding the status and progress of the sale of the Property, and granting such

 further relief as this Court deems necessary and appropriate.

           Respectfully submitted this 4th day of January 2019.

                                                    /s/ James H. Haithcock, III
                                                    Joe A. Joseph
                                                    James H. Haithcock, III



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                                   CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document has been served by Notice of Electronic
 Filing, or, if the party served does not participate in Notice of Electronic Filing, by U.S. First
 Class Mail, on this the 4th day of January 2019

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                                                     /s/ James H. Haithcock, III
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